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                                  UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA
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     TYSON RAYE TALBERT,                                 CASE NO.: 2:20-cv-02113-KES
12
13                 Plaintiff,                            ORDER AWARDING EAJA FEES
14          vs.
15
     ANDREW SAUL, Commissioner of Social
16   Security

17                 Defendant.

18
            Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
19
            IT IS ORDERD that EAJA fees are awarded in the amount of FOUR THOUSAND FOUR
20
     HUNDRED EIGHT NINE AND NINETY-FIVE CENTS) and FOUR HUNDRED DOLLARS
21
     ($400.00) in costs, subject to the terms of the stipulation.
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23   DATED: April 23, 2021                                 _____________________________
                                                           HON. KAREN E. SCOTT
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                                                           U.S. MAGISTRATE JUDGE
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